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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.:08-CV-80736-KAM

   JANE DOE 1 and JANE DOE 2,

          Petitioners,

   vs.

   UNITED STATES OF AMERICA,

          Respondent.

   ______________________________/

                                       OPINION AND ORDER

          This cause is before the Court on various discovery related matters. In response to

   Petitioners’ first requests for production, the respondent Government asserted various privileges

   in three privilege logs and submitted nearly 15,000 pages of documents for in camera inspection.

   (DEs 212-1, 216-1, 329-1). Petitioners object to every privilege asserted. (DE 265).

          Intervenor Jeffrey Epstein supports the Government’s assertion that certain grand jury

   materials should remain secret, and he moves to prevent disclosure of those materials. (DE 263).

   Petitioners filed a response. (DE 271).

          Finally, the Government objects to the relevancy of several of Petitioners’ requests for

   production. (DE 260). Petitioners responded (DE 266) and filed a supporting supplement (DEs

   267, 268).

          The Court has conducted its in camera review of materials submitted, has carefully

   considered the materials and the parties’ submissions, and is fully advised in the premises.
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                                            I. Background

          This is a case against the United States for allegedly violating the Crime Victims’ Rights

   Act (CVRA), 18 U.S.C. § 3771, by failing to involve Petitioners (and other similarly situated

   victims of Intervenor Epstein) in the process that ultimately led to a federal non-prosecution

   agreement between the Government and Epstein. (DE 1). The parties and intervenors debate the

   discoverability of documents that show exactly what led to the non-prosecution agreement.

          In March 2011, Petitioners moved “to allow use of correspondence between the U.S.

   Attorney’s Office and counsel for Epstein” to prove their CVRA case. (DE 51 at 1). Petitioners

   argued that the correspondence was relevant as it “shows that the U.S. Attorney’s Office was

   aware of its statutory obligation to inform the victims of the non-prosecution agreement,” and

   that they should be allowed to use it “as it sheds important light on the events surrounding the

   non-prosecution agreement, which are central to the victims’ arguments that the U.S. Attorney’s

   Office violated their rights.” (Id. at 5, 6). The Court granted Petitioners’ request and ordered the

   Government to “[p]roduce responsive documents in response to all outstanding requests for

   production of documents encompassing any documentary material exchanged by or between the

   federal government and persons or entities outside the federal government (including without

   limitation all correspondence generated by or between the federal government and Epstein’s

   attorneys)” (DE 190 at 2). The Court also ordered the Government to produce all responsive

   documents “other than communications generated between the federal government and outside

   persons or entities.” (Id.). If the Government claimed privilege over any of these documents, the

   Court ordered the Government to (1) file “a privilege log clearly identifying each document[] by

   author(s), addressee(s), recipients(s), date, and general subject matter and such other identifying


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   data,” and (2) to “submit all responsive documents withheld on claim of privilege to the court for

   in camera inspection.” (Id.).

          The Government produced 1,357 pages of documents to Petitioners, filed three privilege

   logs, and submitted nearly 15,000 pages to the Court for in camera inspection. (See DE 257 at

   2). The Government asserts that the documents submitted for in camera inspection are privileged

   for reasons such as the privacy rights of non-party victims, grand jury secrecy under Federal Rule

   of Criminal Procedure 6(e),1 and the attorney–client, work product, deliberative process, and

   investigative privileges. (DEs 212-1; 216-1, 329-1). Moreover, with the Court’s leave (DE 257

   at 4), the Government objects to the relevancy of several of Petitioners’ requests for production

   (DE 260).

                                            II. Discussion

          District courts have “broad discretion in shaping the scope of discovery under

   Fed.R.Civ.P. 26(b).” Williams v. City of Dothan, 745 F.2d 1406, 1415 (11th Cir. 1984). The

   Court will first address matters related to whether a privilege protects the submitted documents

   from discovery and then turn to whether any otherwise non-privileged documents are relevant to

   Petitioners’ CVRA case. Specific rulings as to the submitted documents are found in the Table

   appended to this Opinion and Order.

   A.     Privilege Assertions

          1. Challenge to the Sufficiency of Government’s Privilege Assertions

          Petitioners raise several general objections to the Government’s privilege logs. They


          1
            In a previous ruling, the Court noted that Plaintiffs formally requested the release of
   grand jury materials, but the Court reserved “ruling as to whether the materials in question are
   protected from disclosure by Federal Rule of Criminal Procedure 6(e).” (DE 257 at 3).

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   argue that the Government’s logs are inadequate because they do not “clearly identify” the

   documents as ordered by this Court. (DE 265 at 2; DE 190 at 2). The Court has reviewed the

   Government’s privilege logs and the documents that they describe, and the Court finds that the

   logs—describing nearly 15,000 pages of documents— are adequate to facilitate a meaningful in

   camera inspection and assessment of the asserted privileges. To the extent inadequacies may be

   present, the Court finds that judicial resources would not be best spent by requiring the

   Government to submit a revised, more detailed log. See N.L.R.B. v. Jackson Hosp. Corp., 257

   F.R.D. 302, 307 (D.D.C. 2009) (court may remedy inadequate privilege log by in

   camera inspection of described documents or permitting party another chance to submit a more

   detailed log).

          Petitioners also argue that the Government has failed to provide the factual underpinnings

   necessary to hold that certain privileges apply, specifically the deliberative process privilege,

   investigative privilege, work product privilege, and attorney–client privilege. Discussed in more

   detail below, the Court finds it unnecessary to consider whether the deliberative process and

   investigative privilege apply in this case as other, stronger, privileges are at play, or, as discussed

   further below, many of the documents over which the deliberative process and investigative

   privileges are asserted are irrelevant to this proceeding. Regarding the work product and

   attorney–client privileges, and the Court has considered the materials submitted and the

   Government’s arguments, and finds that the Government has submitted sufficient evidence to

   evaluate its claims of privilege. (See DE 238-1) (discussing documents prepared by the United

   States Attorney’s Office in anticipation of possible Epstein prosecution); see Stern v. O-Quinn,

   253 F.R.D. 663, 675 (S.D. Fla. 2008) (Rosenbaum, Mag. J.) (relying on allegations within


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   pleading to decide application of work product privilege). The Court will therefore evaluate each

   claim of privilege as it relates to the documents submitted.

          2. Grand Jury Secrecy

          The Government asserts that many of the documents identified in its logs are protected by

   Federal Rule of Criminal Procedure 6(e), which governs the secrecy of grand jury proceedings.

   (See DE 212-1; DE 216-1 at 4, 6). These documents include subpoenas issued and documents

   received and prepared during the course of grand jury investigations into whether Epstein

   committed indictable federal offenses. (DE 212-1 at 1). Petitioners argue that the Court can (and

   should) authorize disclosure in this case. (DE 265 at 17).

          “It has long been a policy of the law that grand jury proceedings be kept secret . . . . The

   English rule of grand jury secrecy has been incorporated into our federal common law and

   remains an integral part of our criminal justice system.” United States v. Aisenberg, 358 F.3d

   1327, 1346 (11th Cir. 2004) (internal quotation marks omitted). “Rule 6(e) of the Federal Rules

   of Criminal Procedure codifies this secrecy principle and prohibits the disclosure of grand jury

   material except in the limited circumstances provided for in Rule 6(e)(3).” Id. One such

   exception is Rule (6)(e)(3)(E)(i), which permits a court to authorize disclosure “preliminary to or

   in connection with a judicial proceeding.” Fed. R. Crim. P. 6(e)(3)(E)(i). Additionally, a court

   has inherent authority to disclose grand jury materials beyond the literal wording of Rule 6(e)(3)

   in “exceptional circumstances.” Aisenberg, 358 F.3d at 1347. “The district court has

   ‘substantial discretion’ in determining whether grand jury materials should be released.” Id. at

   1349 (quoting Douglas Oil Co. v. Petrol Stops N.W., 441 U.S. 211, 223 (1979)).

          Whether proceeding under Rule 6(e)(3) or the court’s inherent authority, there are well


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   settled guidelines for determining when grand jury secrecy may be broken. Id. at 1347.

   Specifically, the parties seeking disclosure must show:

                  (1) “that the material they seek is needed to avoid a possible
                  injustice in another judicial proceeding”;

                  (2) “that the need for disclosure is greater than the need for
                  continued secrecy”; and

                  (3) “that their request is structured to cover only material so
                  needed.”

   Id. at 1348 (citing Douglas Oil Co.,N.W., 441 U.S. 211, 222 (1979)). These demanding

   standards apply even after the grand jury has concluded its operations. Id. The burden of

   demonstrating that the need for disclosure outweighs the need for secrecy rests on the party

   seeking disclosure. Id. “In order to carry this burden, the party seeking disclosure of grand jury

   material must show a compelling and particularized need for disclosure.” Id. That is, “the

   private party must show circumstances had created certain difficulties peculiar to this case, which

   could be alleviated by access to specific grand jury materials, without doing disproportionate

   harm to the salutary purpose of secrecy embodied in the grand jury process.” Id. at 1348-49

   (internal quotation marks omitted) (emphasis in original).

          Accordingly, the grand jury proceedings at issue are “presumptively secret,” see In re

   Subpoena to Testify, 864 F.2d 1559, 1562 (11th Cir. 1989), and Petitioners have the heavy

   burden of overcoming this presumption.2 Petitioners argue that they have met their burden in

   their response to Epstein’s motion to uphold grand jury secrecy. (DE 271 at 3).



          2
             Because the burden lies with Petitioners, Petitioners’ argument that disclosure is
   appropriate because the Government “has not attempted to defend its invocation of grand jury
   secrecy” is of no moment. (DE 278 at 10).

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          Regarding whether (1) grand jury materials are “needed to avoid a possible injustice” in

   this case, Petitioners argue that “an injustice may occur” if the materials are not disclosed to

   them. (DE 217 at 4). They argue that the possibility for injustice exists because this Court has

   already recognized that aspects of this case “must be considered in the historical factual context

   of the entire interface between Epstein, the relevant prosecutorial authorities and the federal

   offense victims—including an assessment of the allegation of a deliberate conspiracy between

   Epstein and the federal prosecutors to keep the victims in the dark on the pendency of

   negotiations between Epstein and the federal authorities.” (Id.) (quoting the Court’s Order at DE

   189 at 12 n.6). They also argue that injustice may result without the grand jury materials because

   the “critical starting point for the victims’ case” is proof that the Government had an “extremely

   strong case against Epstein.” (Id.).

          The Court concludes that Petitioners have not met their heavy burden of demonstrating a

   compelling and particularized need for the disclosure of grand jury materials pertaining to the

   investigation of Epstein. Materials that the Government presented in secrecy to a grand jury

   relative to a case against Epstein are not part of the “interface” that occurred between Epstein,

   prosecuting authorities, and the victims. As the Court has already explained, the harm in this

   case did not arise out of the Government’s failure to secure a grand jury indictment against

   Epstein. (DE 189 at 10) (“The victim’s CVRA injury is not the government’s failure to

   prosecute Epstein federally—an end within the sole control of the government.”). Rather, the

   harm in this case arose from the Government’s alleged failure to confer adequately with

   Petitioners before deciding to abandon a federal case against Epstein. (Id.). The Court has

   reviewed the portions of the submitted documents to which grand jury secrecy is invoked, and it


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   finds that none of the grand jury materials produced has a bearing on the Government’s alleged

   failure to confer with Petitioners before electing to forego a federal prosecution.

             The Court also concludes that Petitioner’s asserted need to prove that the Government

   had an “extremely strong case against Epstein” does not justify the disclosure of secret grand jury

   materials. Petitioners seek to use the grand jury materials as the means to an improper end—a

   judicial determination that the Government made an inexplicably poor decision when it decided

   not to prosecute Epstein.

             “[T]he Government retains ‘broad discretion’ as to whom to prosecute.” Wayte v. United

   States, 470 U.S. 598, 607 (1985). The CVRA incorporates this principle, providing that

   “[n]othing in this chapter shall be construed to impair the prosecutorial discretion” of federal

   prosecutors. 18 U.S.C. § 3771(d)(6). Courts tread lightly where prosecutorial discretion is

   concerned because “the decision to prosecute is particularly ill-suited to judicial review.” Wayte,

   470 U.S. at 607; see also 35 Geo. L.J. Ann. Rev. Crim. Proc. 203, 203 n.648 (2006). “Such

   factors as the strength of the case, the prosecution’s general deterrence value, the Government’s

   enforcement priorities, and the case’s relationship to the Government’s overall enforcement plan

   are not readily susceptible to the kind of analysis the courts are competent to undertake.” Wayte,

   470 U.S. at 607 (emphasis added); see also Town of Newton v. Rumery, 480 U.S. 386, 396

   (1987) (courts normally must defer to prosecutorial decisions about whom to prosecute because,

   “[i]n addition to assessing the strength and importance of a case, prosecutors also must consider

   other tangible and intangible factors, such as government enforcement priorities.”) (emphasis

   added).

             Petitioners asserted strategy of demonstrating that the Government had an improper


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   motive to hide its “extremely strong” case asks the Court to decide (or assume) that the

   Government did in fact have an “extremely strong” case against Epstein. As Petitioners point

   out, the Government has not admitted that it believed it had a “strong case” for prosecution. (DE

   266 at 8).3 In light of this refusal to admit the strength of the case, Petitioners seek grand jury

   materials to present to the Court the case for prosecuting Epstein. (Id. at 9). Basically,

   Petitioners ask the Court to interject itself in place of the Government and adjudicate whether the

   Government erred, and thus had a motive for hiding its error, when it decided not to prosecute

   Epstein. As the Supreme Court has articulated, “courts are [not] competent to undertake” the

   kind of analysis necessary to assess the “strength of the case” for or against any particular

   prosecution. Wayte, 470 U.S. at 607; see also United States v. Armstrong, 517 U.S. 456, 465

   (1996) (Judicial deference to prosecutors’ decisions “rests in part on an assessment of the relative

   competence of prosecutors and courts.”). Nor is the Court competent to undertake an analysis of

   how strong the Government perceived its case against Epstein at the time it decided not to

   prosecute. Stated plainly, whether the Government had a “strong” case against Epstein was for

   the Government to decide in its sole discretion; the Court will not foray into matters related to

   assessing the strength of the Government’s case against Epstein.


          3
            In response to Petitioners Request for Admission regarding whether the Government
   had a case for “federal prosecution against Epstein for many federal sex offenses,” (DE 266 at 8),
   the Government responded:

          The government admits that the FBI and the U.S. Attorney’s Office for the
          Southern District of Florida (“USAO”) conducted an investigation into Jeffrey
          Epstein (“Epstein”) and developed evidence and information in contemplation of
          a potential federal prosecution against Epstein for many federal sex offenses.
          Except as otherwise admitted above, the government denies Request No. 1.

   (DE 213-1 at 1).

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          Accordingly, because the Court will not—and cannot—endeavor to assess the strength of

   the Government’s case against Epstein at the time it decided to enter into the non-prosecution

   agreement, the Court concludes that Petitioners have not shown that they will suffer an injustice

   in this case if they are denied access to materials that the Government presented to grand juries

   during their investigation into whether Epstein committed federal crimes. Likewise, Petitioners

   have not shown that their need for these materials is compelling or particularized to their asserted

   interests under the CVRA. Therefore, the Court will deny Petitioners access to the materials over

   which grand jury secrecy applies under Fed. R. Crim. P. 6(e).

          3. Work Product Doctrine

          The Government asserts that many of the documents submitted are protected by the

   attorney work-product privilege. (DE 212-1 at 1-21; DE 216-1 at 1-14). These documents

   include draft correspondences and indictments, as well as attorney research and handwritten

   notes. (See, e.g., DE 212-1 at 2, 17). Petitioners argue that the work-product privilege is

   unavailable for a number of reasons. (DE 265 at 6, 8, 14-16).

          The work-product doctrine traces its roots to the Supreme Court’s recognition that “it is

   essential that a lawyer work with a certain degree of privacy, free from unnecessary intrusion by

   opposing parties and their counsel.” Hickman v. Taylor, 329 U.S. 495, 510 (1947). The

   privilege is codified at Federal Rule of Civil Procedure 26(b)(3):

                  Ordinarily, a party may not discover documents and tangible things
                  that are prepared in anticipation of litigation or for trial by or for
                  another party or its representative (including the other party’s
                  attorney, consultant, surety, indemnitor, insurer, or agent). But,
                  subject to Rule 26(b)(4), those materials may be discovered if:

                  (i) they are otherwise discoverable under Rule 26(b)(1); and


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                  (ii) the party shows that it has substantial need for the materials to
                  prepare its case and cannot, without undue hardship, obtain their
                  substantial equivalent by other means.

   Fed. R. Civ. P. 26(b)(3)(A). Although fact-based work product may be disclosed on a showing

   of “substantial need,” the court must avoid “disclosure of the mental impressions, conclusions,

   opinions, or legal theories of a party’s attorney or other representative concerning the litigation.”

   Id. 26(b)(3)(B). Such “opinion work product enjoys a nearly absolute immunity and can be

   discovered only in very rare and extraordinary circumstances.” Cox v. Adm’r U.S. Steel &

   Carnegie, 17 F.3d 1386, 1422 (11th Cir. 1994). In the context of government attorneys, the

   “work-product privilege applies to . . . discussions between prosecutors and investigating agents,

   both state and federal.” United States v. Zingsheim, 384 F.3d 867, 872 (7th Cir. 2004) (citing

   FTC v. Grolier Inc., 462 U.S. 19 (1983)).

          The work-product privilege extends only to documents that an attorney prepares “in

   anticipation of litigation.” Fed. R. Civ. P. 26(a)(3)(A). Petitioners argue that the work-product

   privilege does not apply to the submitted documents because they were not prepared “in

   anticipation of [the instant] CVRA litigation.” (DE 265 at 7). Retreating somewhat from this

   initial assertion, Petitioners argue that “[m]any of the documents at issue here were not prepared

   in anticipation of litigation, and certainly not in anticipation of the litigation about the Crime

   Victims’ Rights Act.” (Id.).

          Although “[s]ome older cases took the position that the work-product immunity applied

   only to documents prepared in direct relation to the case at bar,” 8 Wright, Miller & Marcus, Fed.

   Prac. & Fed. P. § 2024, p. 518 (3d ed. 2010), more recent cases “have generally found that

   documents produced in anticipation of litigating one case remain protected in a subsequent case[]


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   if they were created by or for a party to the subsequent litigation,” Underwriters Ins. Co. v.

   Atlanta Gas Light Co., 248 F.R.D. 663, 668 (N.D. Ga. 2008). These cases rely on the Supreme

   Court’s dicta in Federal Trade Communication v. Grolier, Inc., that “the literal language of [Rule

   26(b)(3)] protects materials prepared for any litigation or trial as long as they were prepared by or

   for a party to the subsequent litigation.” 462 U.S. 19, 25 (1983) (emphasis in original); see also 8

   Wright, Miller & Marcus, Fed. Prac. & Fed. P. § 2024, p. 519 n.47 (3d ed. 2010) (collecting

   cases). Similarly, the work-product doctrine applies regardless of whether litigation actually

   ensued, so long as it can be fairly said that the document was prepared or obtained because of the

   prospect of litigation. See Kent Corp. v. N.L.R.B., 530 F.2d 612, 623 (5th Cir. 1976) (holding

   that agency documents produced when deciding “to prosecute or not to prosecute” were protected

   work product, regardless of “whether litigation actually ensured”).

           After its in camera review, the Court finds that the majority of work-product documents

   identified by the Government were prepared or obtained by the Government because of the

   reasonable prospect of litigating a criminal case against Epstein. (DE 212-1 at 1–21; DE 216-1 at

   1–12; DE 329-1 at 1–18).4 This CVRA litigation and the underlying criminal investigation are

   integrally related, and the work-product doctrine protects from discovery materials prepared in

   anticipation of either in the instant litigation.


           4
             The Government asserts that the work-product doctrine applies to documents prepared
   by attorneys in the Department of Justice’s Office of Professional Responsibility (OPR) in
   response to Petitioners’ counsel’s request for an investigation into the Government’s handling of
   the Epstein case. (DE 216-1 at 12–14). Although these documents were prepared by
   Government attorneys, the Government has not demonstrated that they were prepared “in
   anticipation of litigation or for trial” so as to be protected work product. Fed. R. Civ. P.
   26(b)(3)(A). As discussed in the next section, however, the Court has thoroughly reviewed these
   documents and finds that they are not relevant, or likely to lead to materials relevant to the instant
   CVRA litigation. (See infra Sect. B.3.)

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            Petitioners argue that the work-product doctrine “does not apply” in this case for two

   additional reasons. First, they argue that the doctrine does not apply in a case brought by crime

   victims against the federal prosecutors who were bound to protect their rights under the CVRA.

   (DE 265 at 13). Second, they argue that the doctrine does not apply because the conduct of those

   prosecutors is a “central issue” in this case. (Id. at 15). The Courts finds these arguments

   unavailing.

            First, Petitioners argue that the “work product doctrine does not apply to claims advanced

   by crime victims that federal prosecutors have violated their public responsibilities under the

   Crime Victims’ Rights Act.” (Id. at 14). Because the CVRA compels prosecutors to make their

   “best efforts” to notify victims of their rights, Petitioners argue that the Government cannot

   withhold documents that “might allow them to protect those very rights.” (Id. at 15). By way of

   illustration, Petitioners offer the case of In re Grand Jury Subpoena Duces Tecum, where the

   Eighth Circuit broadly stated that “the general duty of public service calls upon government

   employees and agencies to favor disclosure over concealment.” 112 F.3d 910, 920 (8th Cir.

   1997).

            A closer inspection of In re Grand Jury Subpoena reveals that it does not stand for the

   categorical rule that the work product doctrine is inapplicable in cases against public prosecutors.

   The statement on which Petitioners rely was made in the context of determining whether to

   recognize a previously undefined privilege: “whether an entity of the federal government may use

   the attorney-client privilege to avoid complying with a subpoena by a federal grand jury.” Id. at

   915 (emphasis added); see also id. at 921 (“We believe the strong public interest in honest

   government and in exposing wrongdoing by public officials would be ill-served by recognition of


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   a governmental attorney-client privilege applicable in criminal proceedings inquiring into the

   actions of public officials.”). The Eighth Circuit did not purport to espouse a broad-ranging rule

   that defeated existing, well-defined privileges such as the work product doctrine. This is

   important, as the Supreme Court has recognized that the “work-product doctrine is distinct from

   and broader than the attorney-client privilege.” United States v. Nobles, 422 U.S. 225, 238

   (1975) (citing Hickman, 329 U.S. at 508). In fact, the Eighth Circuit went on to consider the

   application of the work product doctrine and concluded that it did not apply because the materials

   in question were not prepared in “anticipation of litigation.” 112 F.3d at 924-25. It did not find

   the work product doctrine wholly inapplicable based on a goal of public disclosure.

           In light of the well-established bounds of the work product doctrine—which grants public

   prosecutors “near absolute immunity” over their mental impressions in subsequent civil

   litigation—the Court finds that the CVRA’s mandate that prosecutors make their “best efforts” to

   accord crime victims their rights does not create a “very rare and extraordinary circumstance” in

   which discovery of protected work product would be allowed. See Cox, 17 F.3d at 1422.

           Second, Petitioners argue that the work product doctrine does not apply because the

   conduct of the Government’s attorneys is a “central issue” in this case. (Id. at 15). Some lower

   courts have held that disclosure of opinion work product is “justified principally where the

   material is directly at issue, particularly if the lawyer or law firm is a party to the litigation.” 8

   Wright, Miller & Marcus, Fed. Prac. & Fed. P. § 2026, p. 567 & n.19 (3d ed. 2010) (collecting

   cases). To satisfy this showing, however, the party seeking disclosure of opinion work product

   must make “a far stronger showing of necessity and unavailability by other means” than is

   needed to justify discovery of fact-based work product. Id. (quoting Upjohn Co. v. United States,


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   449 U.S. 383, 402 (1981)); see also In re Doe, 662 F.2d 1073, 1080 (4th Cir. 1981) (even under

   crime-fraud exception to work product doctrine, party “must show a greater need for the opinion

   work product material than was necessary in order to obtain the fact work product material”).

          The Court finds that Petitioners have not made the strong showing of necessity and

   unavailability required to disclose the mental impressions of counsel that might be at issue in this

   case. (See DE 265 at 16). Discovery of opinion work product is most often granted in bad-faith

   settlement cases, where “mental impressions [of the underlying counsel] are the pivotal issue in

   the current litigation.” Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 577 (9th Cir.

   1992). Other than by analogizing to bad-faith actions, Petitioners have not demonstrated how

   delving in to the “mental impressions” of Government attorneys is pivotal to proving their

   allegations that the Government failed to accord them their rights under the CVRA. (See DE 265

   at 15). Insofar as they seek to demonstrate that the attorneys’ mental impressions should have led

   them to conclude that prosecution was the best course, such inquiry cannot be allowed for

   reasons discussed above. Elsewhere, Petitioners assert that they can prove their case by

   demonstrating a “conspiracy between the Government and defense counsel to deliberately

   conceal vital information from the victims.” (DE 266 at 7). Because of the availability of this

   method of proof, Petitioners lack a compelling need to gain access to internal Government work

   product evidencing its internal mental impressions regarding the Epstein matter.

          Finally, Petitioners argue that any work-product protection available in this case should

   be negated because the Government’s communications facilitated “misconduct” by depriving the

   victims of their rights under the CVRA. (DE 265 at 6). The Eleventh Circuit has recognized that

   “[t]he crime-fraud exception presents one of the rare and extraordinary circumstances in which


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   opinion work product is discoverable.” Cox, 17 F.3d at 1422. The Eleventh Circuit has not

   indicated whether this “rare and extraordinary” exception extends to instances of “misconduct”

   in the form of violating a civil rights statute, such as the CVRA. Even so, the Court finds that

   such alleged “misconduct” does not rise to the level of conduct that triggers an exception to the

   work product doctrine. See, e.g., In re Sealed Case, 754 F.2d 395, 401 (D.C. Cir. 1985)

   (exception to attorney-client privilege applied where alleged wrongdoing included “perjured

   testimony, document destruction, and similar misconduct”); United States v. Myers, 593 F.3d

   338, 347 n.14 (4th Cir. 2010) (noting that exception applied where litigant “defrauded” public

   defender by submitting false invoices). Petitioners’ allegation that the Government failed to

   accord them their full CVRA rights—the allegation at the heart of this case—does not rise to the

   level of conduct sufficiently serious enough to displace the work product privilege.

          Moreover, Petitioners fail to set forth prima facie evidence that the Government in fact

   committed “misconduct” in this case. To invoke the crime-fraud exception, the party seeking

   disclosure must (1) make a prima facie showing that the material was produced in the

   commission of criminal or fraudulent conduct and (2) that it was produced “in furtherance of the

   criminal or fraudulent activity or was closely related to it.” Cox, 17 F.3d at 1416; see also id. at

   1422 (noting that same “two-part test” applies in context of both attorney client privilege and

   work product doctrine). Petitioners argue that the fact that the OPR “collected information about

   possible improper behavior” establishes a prima facie case of Government misconduct. (DE 265

   at 7). An investigation into wrongdoing does not presuppose that wrongdoing took place. After

   its in camera review, the Court finds that Petitioners have not made a prima facie showing of

   serious misconduct sufficient to negate the protections of the work product doctrine.


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          Materials constituting the opinion work product of the Government’s attorneys shall

   therefore be withheld from Petitioners. Certain documents that the Court considers fact-based

   work product may be produced subject to relevancy considerations discussed below.

   B.     Relevancy of Requests for Production

          In addition to asserting privileges, the Government responds to Petitioners’ first request

   for production by arguing that many of the materials requested are not relevant to the instant

   CVRA litigation. (DE 260).

          Rule 26 of the Federal Rules of Civil Procedure defines the general scope of discovery as

   follows:

                  Parties may obtain discovery regarding any nonprivileged matter
                  that is relevant to any party’s claim or defense—including the
                  existence, description, nature, custody, condition, and location of
                  any documents or other tangible things and the identity and
                  location of persons who know of any discoverable matter. . . .
                  Relevant information need not be admissible at the trial if the
                  discovery appears reasonably calculated to lead to the discovery of
                  admissible evidence.

   Fed. R. Civ. P. 26(b)(1). “Discovery should ordinarily be allowed unless it is clear that the

   information sought has no possible bearing on the claims and defenses of the parties or otherwise

   on the subject matter of the action.” Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 695-96

   (S.D. Fla. 2007) (citing Dunkin’ Donuts, Inc. v. Mary’s Donuts, Inc., No. 01-0392, 2001 WL

   34079319, at *2 (S.D. Fla. Nov. 1, 2001)).

          1. Request No. 1—the FBI File on the Epstein Matter and Indictment Material

          In their first request for production, Petitioners seek the file generated by the FBI in the

   Epstein matter, including all documents “collected as part of its case against and/or investigation



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   of Epstein.” (DE 260 at 2). Petitioners also request that the Government produce all prosecution

   memoranda and draft indictments prepared in the case. (Id.). The Government argues that such

   materials regarding its decision to prosecute Epstein are irrelevant to the issue of whether they

   denied Petitioners their rights under the CVRA. (Id.). Petitioners disagree. They argue that

   “materials going to the strength of the Government’s case against Epstein” are a “vital part” of

   their case against the Government. (DE at 266 at 8). “Those materials would directly

   demonstrate that the Government had an extremely strong case against Epstein, giving the

   Government a motive for needing to keep the victims in the dark about the plea deal.” (Id.). The

   Court concludes that discovery should not extend to these materials.

          First, the Court finds that all prosecution memoranda, research into indictable offenses,

   and draft indictments are protected opinion work product. These documents were created by the

   Government in anticipation of a possible prosecution of Epstein and evince the Government’s

   internal mental impressions, legal theories, and strategy concerning the issues presented by a

   possible prosecution. As discussed above, Petitioners have not demonstrated “rare and

   extraordinary circumstances” justifying an exception to this well-established protection.

          Second, the Court finds that the information in the FBI’s file regarding its investigation

   into Epstein has no possible bearing on the CVRA claim that is the subject matter of this action.

   Petitioners assert that the relevancy of this material is to “directly demonstrate that the

   Government had an extremely strong case against Epstein.” (DE 266 at 8). As discussed above,

   this Court is ill-equipped to decide that the Government did in fact have a “strong case” for

   prosecution and made a hard-to-explain decision to forego a federal prosecution in lieu of a state

   plea. Rather, the inquiry for the Court is whether the Government afforded Petitioners their


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   rights under the CVRA, which does not turn on its decision whether to initiate a federal

   prosecution. See 18 U.S.C. § 3771(d)(6). Materials going to the “strength” of the Government’s

   case for prosecution—and whether the Government had a motive to hide an embarrassing

   misstep in failing to prosecute—have no relevance to that inquiry.

          2. Request No. 10—Materials Proving that the FBI was Mislead about Likelihood
          of Prosecution

          Request number 10 requests “[a]ll documents, correspondence, and other information

   relating to discussions between the U.S. Attorney’s Office and the FBI concerning the status of

   the investigation and the plea discussions with Epstein, as well as what kind of charges would

   appropriately be filed against Epstein,” and “[a]ll documents, correspondence, and other

   information relating to the U.S. Attorney’s Office’s representations to the FBI and any other state

   or local law enforcement agency about how this case was being handled.” (DE 274 at 5). The

   Government argues that communications it had with the FBI are irrelevant because the “decision

   on whether to prosecute belongs to the United States Attorney.” (DE 260 at 3). Petitioners argue

   that these communications between the United States Attorney’s Office and the FBI lie at the

   “heart of this case” because they will prove that the Government mislead the FBI about the

   progress of the Epstein case, and the FBI in turn mislead the victims. (DE 266 at 9). The Court

   concludes that discovery should not extend to these materials.

          First, the vast majority of documents responsive to this request—communications

   between the U.S. Attorney’s Office and the FBI—are protected from disclosure under either

   principles of grand jury secrecy, the opinion work product doctrine, or both. (See Table).

          Second, the only portion of FBI materials which the Court has not found to be protected



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   by either grand jury secrecy or work product protection—the file folder labeled “(Victims)

   Additional 302’s,” P-012624–012653 (DE 212-1 at 21)—is not responsive to the instant request

   as it does not contain communications from the United States Attorney’s Office to the FBI,

   which was then in a position to relay communications to the victims. Rather, these materials

   contain fact-based summaries of statements provided by victims to interviewing FBI agents.

   They are not relevant to this proceeding.

          3. Request No. 16—Materials Proving that Prosecutors had Improper Relationships
          with Persons Close to Epstein

          Request number 16 seeks materials demonstrating that persons inside the United States

   Attorney’s Office had improper relationships with persons close to Epstein. (DE 260 at 3).

   Petitioners argue that these documents “show[] that a prosecutor working inside the U.S.

   Attorney’s Office when the deal was being arranged left the office shortly thereafter and began

   representing persons close to Epstein (such as his pilots).” (DE 266 at 11). They argue that such

   materials are relevant to their CVRA case because “if one of the prosecutors in the Office was

   not working for the best interests of the United States, but rather for those of Epstein, that would

   be clear evidence of motive to intentionally keep the victims in the dark.” (Id. at 11). The Court

   concludes that production of such documents should not issue.

          After its in camera review, the Court finds that the documents discussing the issue of

   whether an improper relationship existed between a former prosecutor and Epstein’s co-

   conspirators are not relevant to this proceeding. The issue of whether a prosecutor violated

   ethical canons by representing persons with close ties to Epstein after his retirement from the

   United States Attorney’s Office does not bear on the issue of whether the Government violated



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   Petitioners’ CVRA rights during its negotiations with Epstein. The only impropriety to which

   Petitioners point occurred after the prosecutor’s departure from the Government. The

   OPR—which opened an inquiry into the matter at Petitioners’ counsel’s request—closed their

   inquiry into the matter by noting that the OPR has jurisdiction to investigate allegations of

   misconduct involving only current Department of Justice attorneys. (See P-013937;5 see also P-

   0013946). The OPR did not investigate the matter further, and it issued no factual

   determinations on whether a conflict existed before the prosecutor’s departure. Any OPR

   correspondence regarding this inquiry that is not otherwise privileged is irrelevant to this CVRA

   litigation. (See Table at P-013944, P-013945).

          In the same vein, correspondence between the United States Attorney’s Office and the

   OPR regarding self-reporting of conflicts alleged by Epstein’s defense counsel are irrelevant to

   this proceeding.6 (DE 212-1 at 21-22); (see Table at P-013227–013247).

          4. Request No. 18—Documents Concerning Recusal of the United States Attorney’s
          Office for the Southern District of Florida

          Request number 18 seeks information about why the United States Attorney’s Office for

   the Southern District of Florida was “‘conflicted out’ of handing various issues related to the

   Epstein case.” (DE 266 at 11). Specifically, it requests “all documents, correspondence, and

   other information regarding the potential conflicts of interest that the Justice Department

   discussed or determined existed for the USAO SDFL, as well as any referral that was made to


          5
             This is a draft letter addressed to Petitioners’ counsel from an OPR attorney. The Court
   assumes Plaintiff’s counsel received the final version of this letter explaining the OPR’s reasons
   for closing its investigation.
          6
             Ironically, Epstein’s counsel raised conflict-of-interest concerns because they believed
   that certain prosecutors were too close to persons associated with the victims.

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   Main Justice or to any other District, including any documents that were transmitted to any other

   District regarding the conflict and regarding what was to be investigated.” (DE 260 at 4).

   Petitioners argue that such materials are relevant because they “show why the victims did not

   receive proper notifications about the non-prosecution agreement that the [United States

   Attorney’s Office for the Southern District of Florida] negotiated with Epstein.” (DE 266 at 11).

   The Court concludes that the materials are not relevant in that regard.

          First, the Court finds that the responsive documents are shielded by governmental

   attorney-client privilege. The responsive documents are internal Department of Justice

   correspondences between attorneys for the United States Attorney’s Office for the Southern

   District of Florida and the Executive Office of United States Attorneys. (DE 212-1 at 22-23);

   (see Table at P-013248–13278). One of the Executive Office’s functions is to “[p]rovide general

   legal interpretations, opinions, and advice to United States Attorneys in areas of recusals.”

   Offices of the United States Attorneys, United States Department of Justice,

   http://www.justice.gov/usao/eousa/mission-and-functions (last visited June 19, 2015). The

   internal documents that Petitioners seek relate to the provision of legal advice by the Executive

   Office to the United States Attorney’s Office for the Southern District of Florida regarding how

   to proceed in the Epstein matter given the initiation of CVRA litigation by Petitioners. These

   communications are solely between attorneys within the United States Department of Justice.

   The communications do not constitute the commission of crime, fraud, or misconduct, but rather

   simply advise how to proceed given that allegations of misconduct have been made, i.e.,

   allegations that the Government violated the victims’ CVRA rights.

          Moreover, the documents related to the recusal determination are not relevant to matters


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   concerning whether the Government violated Petitioners’ CVRA rights several years before.

   Petitioners speculate that the reason that the Southern District recused “may have to do with the

   Office’s treatment of the victims.” (DE 266 at 12). The Court has reviewed the recussal

   materials, and they do not indicate that the Office had to step away from the Epstein matter

   because of its handling of victims’ notifications, but rather because of the perceived conflict that

   would exist if the Office continued to investigate Epstein after the institution of CVRA litigation

   by Petitioners. The recusal materials have no relevancy to anything that occurred prior to the

   institution of the instant litigation by Petitioners.

           5. Request No. 19—Materials Related to Defense’s Assault on Prosecution

           In request number 19, Petitioners seek all documents supporting, or contradicting, a

   statement made by a United States Attorney to the media that Epstein launched “a yearlong

   assault on the prosecution and the prosecutors.” (DE 260 at 4). After its in camera review, the

   Court has not identified any documents that are responsive to this request that are not otherwise

   protected opinion work product. No production under this request is necessary.

           6. Request No. 25—Initial Disclosures under FRCP 26(a)(1)

           Finally, Petitioners request that the Government comply with its obligation to serve initial

   disclosures under Federal Rule of Civil Procedure 26(a)(1). Although Petitioners have already

   served their Rule 26(a)(1) disclosures (DE 266 at 13), and although this Court has repeatedly

   held that the Federal Rules of Civil Procedure “govern the general course of this proceeding,” the

   Government maintains that the rule governing initial disclosures in civil litigation does not apply

   to it in this case. (DE 274 at 8). The Court disagrees. The Government shall serve its Rule

   26(a)(1) disclosures on Petitioners within 14 days of this Opinion and Order.


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   C.     Other Considerations

          Before concluding, the Court finds it necessary to address certain aspects of the

   Government’s privilege logs.

          As mentioned, the Court previously ordered the Government to provide Petitioners all

   “documentary material exchanged by or between the federal government and persons or entities

   outside the federal government.” (DE 190 at 2). Petitioners state that they “have now obtained

   the full text of correspondence between the defense attorneys and the prosecutors.” (DE 298 at

   6). The documents produced for in camera review contain correspondence between the

   Government and counsel for both Epstein and Petitioners. Some of the documents were

   inadvertently marked as privileged; some of the documents bear handwritten notes of

   Government attorneys, and some are part of communication chains made up of both internal and

   external communications. The Table at the end of this order indicates instances where such

   communications appear. The Court requests that the Government certify within 14 days that

   Petitioners have been provided with all external communications.

          Additionally, the Court has identified several documents that are asserted “work product,”

   but which are nothing more than factual complications of information regarding victim

   identification. The Court finds that Petitioners have a compelling need to know which

   individuals the Government considered to be victims or potential victims at the time it negotiated

   the non-prosecution agreement. As indicated in the Table, the Government should confer with

   Petitioners regarding the names of the individuals identified in these documents. If Petitioners

   have not been previously provided with these names, then Petitioners should have production of

   the indicated documents. The parties should stipulate to an appropriate protective order to


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   protect the victims’ identity.

                                        III. Conclusion

           Accordingly, it is hereby ORDERED AND ADJUDGED that the Government shall

   produce documents consistent with the following Table. It is further ORDERED AND

   ADJUDGED that Intervenor Epstein’s Motion for the Court to Protect From Disclosure Grand

   Jury Materials (DE 263) is GRANTED, and Petitioners’ Motion to Seal (DE 267) is DENIED in

   light of this Court’s Order at DE 326; DE 268 is hereby UNSEALED.

           DONE AND ORDERED in chambers at West Palm Beach, Palm Beach County,

   Florida, this 6th day July, 2015.



                                                   ________________________________
                                                   KENNETH A. MARRA
                                                   United State District Judge




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                                                TABLE
                              Detail of Privilege and Relevancy Holdings

      Bates Range                Ruling on Privilege or Relevancy           Comment (as necessary)

    1:000001–0000397   Protected from discovery by grand jury secrecy and
                       opinion work product privilege.

    1:000040–000549    Protected from discovery by grand jury secrecy and
                       opinion work product privilege.

    1:000550–000621    Protected from discovery by grand jury secrecy.

    1:000622–000693    Protected from discovery by grand jury secrecy.

    1:000694-000781    Protected from discovery by opinion work product
                       privilege.

    1:000782–000803    Protected from discovery by grand jury secrecy.

    1:000804–000854    Protected from discovery by grand jury secrecy.

    1:000855–000937    Protected from discovery by grand jury secrecy.

    1:000938–000947    Protected from discovery by grand jury secrecy.

    1:000948–000982    Protected from discovery by opinion work product
                       privilege.

    1:000983–001007    Protected from discovery by grand jury secrecy and
                       opinion work product privilege.

    1:001008–001056    Protected from discovery by grand jury secrecy and
                       opinion work product privilege.

    1:001057–001959    Protected from discovery by grand jury secrecy.

    1:001960–002089    Protected from discovery by grand jury secrecy.

    1:002090–002169    Protected from discovery by grand jury secrecy.

    1:002170–002246    Protected from discovery by grand jury secrecy.

    1:002247–002265    Protected from discovery by grand jury secrecy.

    1:002266–002386    Protected from discovery by grand jury secrecy and
                       opinion work product privilege.

    1:002387–002769    Protected from discovery by grand jury secrecy and
                       opinion work product privilege.



          7
            The first digit indicates the box number, with an “S” indicating materials identified in
   the supplemental privilege logs (DEs 216-1, 329-1). The numbers following the colon are page
   ranges.

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    1:002770–003211   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:003212–003545   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:003546–003552   Protected from discovery by opinion work product
                      privilege.

    1:003553–003555   Protected from discovery by opinion work product
    B                 privilege.

    1:003556–003562   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:003563–003629   Protected from discovery by grand jury secrecy.

    1:003630–003633   Protected from discovery by opinion work product
                      privilege.

    1:003634–003646   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:003647–003651   Produce victim identities.                           Document bears no indication
                                                                           that it was directly related to
                                                                           grand jury presentation, and it
                                                                           does not exhibit the mental
                                                                           impressions of counsel but
                                                                           rather the cumulation of facts.
                                                                           Petitioners should be provided
                                                                           with the victim identities under
                                                                           an appropriate protective order.

    1:003664–003678   Protected from discovery by opinion work product
                      privilege.

    1:003679–003680   Protected from discovery by opinion work product
                      privilege.

    1:003681–003687   Protected from discovery by opinion work product
                      privilege.

    1:003688–003693   Protected from discovery by opinion work product
                      privilege.

    1:003694–003711   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:003712          Produce victim identity.                             Contains nothing other than the
                                                                           written name of one victim.
                                                                           The Court finds that no
                                                                           privilege applies, and
                                                                           Petitioners should be made
                                                                           aware that this victim was
                                                                           known to the Government.


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    1:003713–003746   Protected from discovery by grand jury secrecy.

    1:003747–003751   Protected from discovery by grand jury secrecy.

    1:003752–004295   Protected from discovery by grand jury secrecy.

    1:004296–004350   Protected from discovery by grand jury secrecy; also
                      contains no materials relevant or likely to lead to
                      discovery of materials relevant to the instant CVRA
                      litigation.

    1:004351–004381   Protected from discovery by work product privilege.

    1:004382–004478   Protected from discovery by grand jury secrecy.

    1:004479–004551   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:004552–004555   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    1:004556–004560   Production not necessary; not relevant or likely to lead   Contains factual information
                      to the discovery of materials relevant to the instant      regarding the employment and
                      CVRA litigation.                                           wage history of Epstein’s
                                                                                 employees, obtained during the
                                                                                 investigation into Epstein and
                                                                                 his associates. No bearing on
                                                                                 victim notification or rights.

    1:004561–004565   Protected from discovery by opinion work product
                      privilege.

    1:004566–004716   Protected from discovery by grand jury secrecy.

    1:004717–004722   Protected from discovery by opinion work product
                      privilege.

    1:004723–004725   Protected from discovery by opinion work product
                      privilege.

    1:004726–004819   Protected from discovery by opinion work product
                      privilege.

    1:004820–004959   Protected from discovery by opinion work product
                      privilege.

    1:004960–005059   Protected from discovery by grand jury secrecy; also not   Contains factual information
                      relevant or likely to lead to the discovery of materials   regarding the call history of
                      relevant to the instant CVRA litigation.                   Epstein (and associates) to
                                                                                 victims, obtained during
                                                                                 investigation into Epstein and
                                                                                 associates. Contains no
                                                                                 information bearing on
                                                                                 Government’s obligation to
                                                                                 crime victims.


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    1:005060–005081   Partially protected from discovery by opinion work      Attorney handwritten notes are
                      product privilege.                                      protected from discovery; the
                                                                              underlying correspondence is
                                                                              not and should be produced.
                                                                              The Government must certify
                                                                              that Petitioners have been
                                                                              provided the correspondence.

    1:005082–005083   Protected from discovery by opinion work product
                      privilege.

    1:005108–005193   Protected from discovery by opinion work product
                      privilege.

    1:005194–005300   Protected from discovery by opinion work product
                      privilege.

    1:005301–005331   Protected from discovery by grand jury secrecy.

    1:005332–005341   Protected from discovery by opinion work product
                      privilege.

    1:005342–005387   Protected from discovery by grand jury secrecy.

    1:005388–005442   Except P-005420, protected from discovery by grand      The victims list at P-005420
                      jury secrecy and opinion work product privilege.        bears no indication that it was
                                                                              produced to a grand jury and
                                                                              bears no attorney mental
                                                                              impressions. Petitioners should
                                                                              be provided with the victim
                                                                              identities under an appropriate
                                                                              protective order.

    1:005443–005496   Protected from discovery by grand jury secrecy.

    1:005497–005556   Protected from discovery by grand jury secrecy.

    1:005557–005576   Protected from discovery by opinion work product
                      privilege.

    1:005578–005583   Protected from discovery by opinion work product
                      privilege.

    1:005584–005606   Except P-005590–005595 and P-005596, protected          P-005590–005595 and
                      from discovery by grand jury secrecy and opinion work   P–005596 are correspondence
                      product privilege.                                      documents sent to victim’s
                                                                              counsel. No privilege applies.
                                                                              The Government must certify
                                                                              that Petitioners have been
                                                                              provided the correspondence.

    2:005607–005914   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.




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    2:005915–005977   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:005978–006050   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006051–006065   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006066–006220   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006221–006222   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006223–006522   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006523–006802   Protected from discovery by grand jury secrecy.

    2:006803–006860   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:006861–007785   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:007786–008120   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008121–008139   Protected from discovery by grand jury secrecy.

    2:008140–008298   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008364–008382   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:08383–008516    Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008536–008542   Protected from discovery by opinion work product
                      privilege.

    2:008543–008549   Protected from discovery by opinion work product
                      privilege.

    2:008550-008615   Protected from discovery by opinion work product
                      privilege.

    2:008616–008686   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008687–008776   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.




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    2:008777-008808   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008809–008847   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008848-008862   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:008863–008890   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009104–009111   Protected from discovery by opinion work product
                      privilege.

    2:009126–008134   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009135–009141   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009141A–00914   Protected from discovery by grand jury secrecy and
    1C                opinion work product privilege.

    2:009142–009152   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009153–009156   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009157–009208   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009209–009213   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009214–009271   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:009272–009354   Protected from discovery by opinion work product
                      privilege.

    2:009355–009403   Protected from discovery by opinion work product
                      privilege.

    2:009404–009536   Protected from discovery by opinion work product
                      privilege.

    2:009537–009574   Protected from discovery by opinion work product
                      privilege.

    2:009575–009603   Protected from discovery by opinion work product
                      privilege.

    2:009604–009711   Protected from discovery by opinion work product
                      privilege.


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    2:009820–009965   Protected from discovery by opinion work product
                      privilege.

    2:009966–010096   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:010097–010276   Protected from discovery by opinion work product
                      privilege.

    2:010277–010394   Protected from discovery by opinion work product
                      privilege.

    2:010395–010488   Protected from discovery by opinion work product
                      privilege.

    2:010489–010509   Protected from discovery by opinion work product
                      privilege.

    2:010510–010525   Protected from discovery by opinion work product
                      privilege.

    2:010526–010641   Protected from discovery by opinion work product     The correspondence between
                      privilege.                                           the Government and Epstein’s
                                                                           counsel is not privileged and
                                                                           should be produced. The
                                                                           Government must certify that it
                                                                           has been produced.

    2:010642–010650   Protected from discovery by opinion work product
                      privilege.

    2:010651–010659   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:010660–010757   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    2:010758–010793   Protected from discovery by opinion work product
                      privilege.

    2:010794–010829   Protected from discovery by opinion work product
                      privilege.

    2:010830–010853   Protected from discovery by opinion work product
                      privilege.

    2:010854–010876   Protected from discovery by opinion work product
                      privilege.

    2:010877–010920   Protected from discovery by opinion work product
                      privilege.

    2:010921–011049   Protected from discovery by opinion work product
                      privilege.




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    2:011050–011212   Protected from discovery by opinion work product
                      privilege.

    2:011213–011237   Protected from discovery by opinion work product
                      privilege.

    2:011238–011319   Protected from discovery by opinion work product
                      privilege.

    2:011320–011361   Protected from discovery by opinion work product
                      privilege.

    2:011362–011374   Protected from discovery by opinion work product
                      privilege.

    2:011375–011456   Protected from discovery by opinion work product
                      privilege.

    2:011457–011626   Protected from discovery by opinion work product
                      privilege.

    3:011627–011662   Protected from discovery by opinion work product
                      privilege.

    3:011663–012361   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:011699–011777   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:011778–011788   Produce victim identities.                           Document does not exhibit the
                                                                           mental impressions of counsel
                                                                           but rather the cumulation of
                                                                           facts. Petitioners should be
                                                                           provided with the victim
                                                                           identities under an appropriate
                                                                           protective order.

    3:011789–011879   Protected from discovery by opinion work product
                      privilege.

    3:011880–011922   Protected from discovery by opinion work product
                      privilege.

    3:011923–011966   Protected from discovery by opinion work product     The underlying correspondence
                      privilege.                                           between Government and
                                                                           Epstein’s counsel should be
                                                                           produced without attorney
                                                                           annotations. The Government
                                                                           must certify that Petitioners
                                                                           have this correspondence.

    3:011967–012016   Protected from discovery by opinion work product
                      privilege.



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    3:01217–012055    Protected from discovery by grand jury secrecy.

    3:012056–012088   Protected from discovery by grand jury secrecy.

    3:012089–012129   Protected from discovery by grand jury secrecy.

    3:012130–012150   Protected from discovery by grand jury secrecy.

    3:012151–012167   Protected from discovery by grand jury secrecy.

    3:012168–012170   Protected from discovery by grand jury secrecy.

    3:012171–012173   Protected from discovery by grand jury secrecy.

    3:012174–012176   Protected from discovery by opinion work product           Final versions of sent
                      privilege.                                                 correspondence should be
                                                                                 produced. The Government
                                                                                 must certify whether Petitioners
                                                                                 have any sent version of this
                                                                                 correspondence.

    3:012177–012178   Protected from discovery by opinion work product
                      privilege.

    3:012179–012188   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:012362–012451   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:012451–012452   Produce victim identities.                                 Document does not exhibit the
                                                                                 mental impressions of counsel
                                                                                 but rather the cumulation of
                                                                                 facts. Petitioners’ need
                                                                                 outweighs investigative
                                                                                 privilege. Petitioners should be
                                                                                 provided with the victim
                                                                                 identities under an appropriate
                                                                                 protective order.

    3:012453–012623   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:012624–012653   Production not necessary; documents are not relevant or    The Court has reviewed the
                      likely to lead to the discovery of materials relevant to   content of the FBI “302’s,”
                      this CVRA litigation.                                      which are forms prepared by
                                                                                 FBI agents to document
                                                                                 interviews. These interview
                                                                                 reports summarize the various
                                                                                 victims’ interactions with
                                                                                 Epstein, and do not indicate a
                                                                                 conveyance of information
                                                                                 from the FBI to the victims
                                                                                 regarding the likelihood of
                                                                                 prosecution.


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    3:012654–012864   Protected from discovery by opinion work product
                      privilege.

    3:012865–013226   Protected from discovery by grand jury secrecy and
                      opinion work product privilege.

    3:013227          Production not necessary; not relevant or likely to lead   Involves OPR investigation
                      to the discovery of materials relevant to this CVRA        into Epstein’s allegation that
                      litigation.                                                certain prosecutors had
                                                                                 conflicts of interest. Not
                                                                                 relevant to victims’ CVRA
                                                                                 rights.

    3:013228–013230   Production not necessary; not relevant or likely to lead   Involves OPR investigation
                      to the discovery of materials relevant to this CVRA        into Epstein’s allegation that
                      litigation.                                                certain prosecutors had
                                                                                 conflicts of interest. Not
                                                                                 relevant to victims’ CVRA
                                                                                 rights.

    3:013231–013239   Production not necessary; not relevant or likely to lead   Involves OPR investigation
                      to the discovery of materials relevant to this CVRA        into Epstein’s allegation that
                      litigation.                                                certain prosecutors had
                                                                                 conflicts of interest. Not
                                                                                 relevant to victims’ CVRA
                                                                                 rights.

    3:013240–013247   Production not necessary; not relevant or likely to lead   Involves OPR investigation
                      to the discovery of materials relevant to this CVRA        into Epstein’s allegation that
                      litigation.                                                certain prosecutors had
                                                                                 conflicts of interest. Not
                                                                                 relevant to victims’ CVRA
                                                                                 rights.

    3:013248–013251   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.

    3:013252–013253   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.

    3:013254–013257   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.

    3:013258–013259   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.

    3:013260–013262   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.



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    3:013263–013271   Protected from discovery by attorney–client and opinion
                      work product privilege; also not relevant or likely to
                      lead to the discovery of materials relevant to this CVRA
                      litigation.

    3:013272–013278   Protected from disclosure by the attorney–client
                      privilege; also not relevant or likely to lead to the
                      discovery of materials relevant to this CVRA litigation.

    S:013279–013280   Protected from discovery by opinion work product
                      privilege.

    S:013281          Protected from discovery by opinion work product
                      privilege.

    S:013282–013283   Protected from discovery by opinion work product
                      privilege.

    S:013284          Protected from discovery by opinion work product
                      privilege.

    S:013285–013289   Protected from discovery by opinion work product
                      privilege.

    S:013290–013292   Protected from discovery by opinion work product
                      privilege.

    S:013293–013299   Protected from discovery by opinion work product           The portions of this
                      privilege.                                                 correspondence between the
                                                                                 Government and Epstein’s
                                                                                 counsel should be produced.
                                                                                 The Government must certify
                                                                                 that Petitioners have been
                                                                                 provided with these outside
                                                                                 correspondences.

    S:013300–013303   Protected from discovery by opinion work product
                      privilege.

    S:013304–013325   Protected from discovery by opinion work product
                      privilege.

    S:013326–013329   Protected from discovery by opinion work product
                      privilege.

    S:013330–013333   Protected from discovery by opinion work product
                      privilege.

    S:013334–013337   Protected from discovery by opinion work product
                      privilege.




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    S:013342–013350   Protected from discovery by opinion work product     The underlying correspondence
                      privilege.                                           between Epstein’s counsel and
                                                                           the Government should be
                                                                           produced without attorney
                                                                           annotations. The Government
                                                                           must certify that Petitioners
                                                                           have been provided with these
                                                                           outside correspondences.

    S:013351–013361   Protected from discovery by opinion work product     The underlying correspondence
                      privilege.                                           between Epstein’s counsel and
                                                                           the Government should be
                                                                           produced without attorney
                                                                           annotations. The Government
                                                                           must certify that Petitioners
                                                                           have been provided with these
                                                                           outside correspondences.

    S:013362–013366   Protected from discovery by opinion work product     Any version of the letter
                      privilege.                                           actually sent to Epstein’s
                                                                           counsel should be produced.
                                                                           Government must certify
                                                                           whether it has been produced.

    S:013367–013372   Protected from discovery by opinion work product     Any version of the letter
                      privilege.                                           actually sent to Epstein’s
                                                                           counsel should be produced.
                                                                           Government must certify
                                                                           whether it has been produced.

    S:013373–013503   Protected from discovery by opinion work product
                      privilege.

    S:013504–013507   Protected from discovery by opinion work product
                      privilege.

    S:013508–013514   Partially protected from discovery by opinion work   Only the top portion of P-
                      product privilege.                                   013509 contains materials
                                                                           internal to the Government—a
                                                                           one-sentence email between
                                                                           two United States Attorneys.
                                                                           The Government must certify
                                                                           that Petitioners have the
                                                                           remainder of P-013509 and P-
                                                                           013510–013514, as these
                                                                           communications are between
                                                                           the Government and Epstein’s
                                                                           counsel.




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    S:013515–013525    Protected from discovery by opinion work product             Any final version of the letter
                       privilege.                                                   actually sent to Epstein’s
                                                                                    counsel should be produced.
                                                                                    Government must certify
                                                                                    whether it has been produced.

    S:013526–013527    Protected from discovery by opinion work product
                       privilege.

    S:013528–013530,   Protected from discovery by opinion work product
    013532–013537      privilege.

    S:013531           Protected from discovery by grand jury secrecy.

    S:013538–013553    Protected from discovery by opinion work product
                       privilege.

    S:013554–013608    Protected from discovery by opinion work product
                       privilege.

    S:013609–013615    Protected from discovery by grand jury secrecy.

    S:013616–013621    Protected from discovery by opinion work product
                       privilege.

    S:013622–013643    Protected from discovery by opinion work product
                       privilege.

    S:013644–013653    Protected from discovery by opinion work product
                       privilege.

    S:013654–013745    Protected from discovery by opinion work product
                       privilege.

    S:013747–013810    Protected from discovery by opinion work product
                       privilege.

    S:013811–013833    Protected from discovery by opinion work product
                       privilege.

    S:013834–013835    Protected from discovery by opinion work product
                       privilege.

    S:013836–013837    Protected from discovery by opinion work product
                       privilege.

    S:013838–013841    Protected from discovery by opinion work product             The underlying correspondence
                       privilege; also not relevant material or likely to lead to   between Epstein’s counsel and
                       discovery of material relevant to the instant CVRA           the Government should be
                       litigation.                                                  produced without attorney
                                                                                    annotations. The Government
                                                                                    must certify that Petitioners
                                                                                    have been provided with these
                                                                                    outside correspondences.



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    S:013842          Protected from discovery by opinion work product
                      privilege; also not relevant material or likely to lead to
                      discovery of material relevant to the instant CVRA
                      litigation.

    S:013843–013844   Protected from discovery by opinion work product
                      privilege.

    S:013845–013846   Protected from discovery by opinion work product
                      privilege.

    S:013847–013849   Protected from discovery by opinion work product
                      privilege.

    S:013850          Protected from discovery by opinion work product
                      privilege.

    S:013851–013853   Protected from discovery by opinion work product
                      privilege.

    S:013854          Protected from discovery by opinion work product
                      privilege.

    S:013855          Protected from discovery by opinion work product
                      privilege.

    S:013856–013857   Protected from discovery by opinion work product
                      privilege.

    S:013858          Protected from discovery by opinion work product
                      privilege.

    S:013861–013865   Protected from discovery by opinion work product
                      privilege.

    S:013866          Protected from discovery by opinion work product
                      privilege.

    S:013867–013868   Protected from discovery by opinion work product
                      privilege.

    S:013869          Protected from discovery by opinion work product
                      privilege.

    S:013870–013871   Produce; not protected from discovery by any privilege.      Only the top portion of the
                                                                                   email chain contains
                                                                                   correspondence internal to the
                                                                                   Government, and this does not
                                                                                   divulge any mental impressions
                                                                                   or legal theories. The rest of
                                                                                   the email chain is between the
                                                                                   Government and Epstein’s
                                                                                   counsel. It should be produced.




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    S:013872          Protected from discovery by opinion work product     Besides internal Government
                      privilege.                                           correspondence, contains one
                                                                           email correspondence between
                                                                           the Government and Epstein’s
                                                                           counsel, which will be
                                                                           produced at P-013870–013871.

    S:013873          Protected from discovery by opinion work product
                      privilege.

    S:013876–013877   Partially protected from discovery by opinion work   The email correspondence at
                      product privilege.                                   P–013877 is between the
                                                                           Government and Epstein’s
                                                                           counsel, and not privileged.
                                                                           The Government must certify
                                                                           that Petitioners have been
                                                                           provided with these outside
                                                                           correspondences.

    S:013878–013879   Protected from discovery by opinion work product
                      privilege.

    S:013880–013882   Partially protected from discovery by opinion work   Only the top two email
                      product privilege.                                   correspondences are internal to
                                                                           the Government. The
                                                                           remaining emails, starting at
                                                                           the bottom of P-013880 and
                                                                           running through P-013882, are
                                                                           between the Government and
                                                                           Epstein’s counsel, and should
                                                                           be produced. The Government
                                                                           must certify that Petitioners
                                                                           have been provided with these
                                                                           outside correspondences.

    S:013883          Protected from discovery by opinion work product
                      privilege.

    S:013884–013886   Protected from discovery by opinion work product
                      privilege.

    S:013887          Protected from discovery by opinion work product
                      privilege.

    S:013888          Protected from discovery by opinion work product
                      privilege.

    S:013889–013890   Protected from discovery by opinion work product
                      privilege.

    S:013891          Protected from discovery by opinion work product
                      privilege.




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    S:013894–013898   Protected from discovery by opinion work product
                      privilege.

    S:013899          Protected from discovery by opinion work product
                      privilege.

    S:013900–013901   Protected from discovery by opinion work product
                      privilege.

    S:013902          Protected from discovery by opinion work product
                      privilege.

    S:013903–013904   Identical to the email chain at S:013870–013871, and
                      should likewise be disclosed.

    S:013905          Partially protected from discovery by opinion work           Email correspondence at
                      product privilege.                                           bottom of page between
                                                                                   Government and Epstein’s
                                                                                   counsel should be produced.
                                                                                   The Government must certify
                                                                                   that Petitioners have been
                                                                                   provided with these outside
                                                                                   correspondences.

    S:013906          Protected from discovery by opinion work product
                      privilege.

    S:013909–013911   Not relevant or likely to lead to material relevant to the
                      instant CVRA litigation.

    S:013912–013914   Not relevant or likely to lead to material relevant to the
                      instant CVRA litigation.

    S:013915–013918   Not relevant or likely to lead to material relevant to the
                      instant CVRA litigation.

    S:013919–013921   Not relevant or likely to lead to material relevant to the
                      instant CVRA litigation.

    S:013922–013924   Not relevant or likely to lead to material relevant to the
                      instant CVRA litigation.

    S:013925–013927   Not relevant or likely to lead to material relevant to the   The final version of this letter,
                      instant CVRA litigation.                                     which is addressed to
                                                                                   Petitioners’ counsel, should be
                                                                                   available to Petitioners.

    S:013928–013930   Not relevant or likely to lead to material relevant to the   The final version of this letter,
                      instant CVRA litigation.                                     which is addressed to
                                                                                   Petitioners’ counsel, should be
                                                                                   available to Petitioners.




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    S:013931–013933     Not relevant or likely to lead to material relevant to the    The final version of this letter,
                        instant CVRA litigation.                                      which is addressed to
                                                                                      Petitioners’ counsel, should be
                                                                                      available to Petitioners.

    S:013934–013936     Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013937–013939     Not relevant or likely to lead to material relevant to the    The final version of this letter,
                        instant CVRA litigation.                                      which is addressed to
                                                                                      Petitioners’ counsel, should be
                                                                                      available to Petitioners.

    S:013940–013942     Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013943            Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013944            Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013945            Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013946            Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013947            Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013948–013951     Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013952–013953     Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013954–013955     Not relevant or likely to lead to material relevant to the
                        instant CVRA litigation.

    S:013956–013969     Protected from discovery by opinion work product
                        privilege.

    S:813970-13971      Protected from discovery by opinion work product
                        privilege; also, not relevant or likely to lead to material
                        relevant to this CVRA litigation.

    S:13972             Protected from discovery by opinion work product
                        privilege.

    S:13973-13976       Protected from discovery by opinion work product
                        privilege.



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               The Government’s Second Supplemental Privilege Log begins here. (DE 329-1).

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    S:13977-13979     Protected from discovery by opinion work product
                      privilege.

    S:13980           Protected from discovery by opinion work product
                      privilege.

    S:13981           Protected from discovery by opinion work product
                      privilege.

    S:13982           Protected from discovery by opinion work product
                      privilege.

    S:13983-13984     Protected from discovery by opinion work product
                      privilege.

    S:13985-13989     Protected from discovery by opinion work product
                      privilege.

    S:13990-13991     Protected from discovery by opinion work product
                      privilege.

    S:13992-13994     Protected from discovery by opinion work product
                      privilege.

    S:13995-14010     Protected from discovery by opinion work product
                      privilege; also, not relevant or likely to lead to material
                      relevant to this CVRA litigation.

    S:S:14011-14025   Protected from discovery by opinion work product
                      privilege.

    S:14026-14027     Protected from discovery by opinion work product
                      privilege.

    S:14028-14030     Protected from discovery by opinion work product
                      privilege.

    S:14031-01432     Protected from discovery by opinion work product
                      privilege.

    S:14033           Protected from discovery by opinion work product
                      privilege.

    S:14034           Protected from discovery by opinion work product
                      privilege.

    S:14035           Protected from discovery by opinion work product
                      privilege.

    S:14036           Protected from discovery by opinion work product
                      privilege.

    S:14037           Protected from discovery by opinion work product
                      privilege.




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    S:14038-14041   Protected from discovery by opinion work product
                    privilege.

    S:14042         Protected from discovery by opinion work product
                    privilege.

    S:14043-14044   Protected from discovery by opinion work product
                    privilege.

    S:14045-14046   Protected from discovery by opinion work product
                    privilege.

    S:14047         Protected from discovery by opinion work product
                    privilege.

    S:14048         Protected from discovery by opinion work product
                    privilege.

    S:14049-14050   Protected from discovery by opinion work product
                    privilege.

    S:14051         Protected from discovery by opinion work product
                    privilege.

    S:14052         Protected from discovery by opinion work product
                    privilege.

    S:14053         Protected from discovery by opinion work product
                    privilege.

    S:14054         Protected from discovery by opinion work product
                    privilege.

    S:14055         Protected from discovery by opinion work product
                    privilege.

    S:14056         Protected from discovery by opinion work product
                    privilege.

    S:14057         Protected from discovery by opinion work product
                    privilege.

    S:14058         Protected from discovery by opinion work product
                    privilege.

    S:14059-14061   Protected from discovery by opinion work product
                    privilege.

    S:14062-14068   Protected from discovery by opinion work product
                    privilege.

    S:14069         Protected from discovery by opinion work product
                    privilege.

    S:14070-14074   Protected from discovery by opinion work product
                    privilege.


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    S:14075-14089   Protected from discovery by opinion work product
                    privilege.

    S:14090-14102   Protected from discovery by opinion work product
                    privilege.

    S:14103-14107   Protected from discovery by opinion work product
                    privilege.

    S:14108-14134   Protected from discovery by opinion work product
                    privilege.

    S:14135-14149   Protected from discovery by opinion work product
                    privilege.

    S:14150-14156   Protected from discovery by opinion work product
                    privilege.

    S:14157-15160   Protected from discovery by opinion work product
                    privilege.

    S:14161         Protected from discovery by opinion work product
                    privilege.

    S:14162-14170   Protected from discovery by opinion work product
                    privilege.

    S:14171-14174   Protected from discovery by opinion work product
                    privilege.

    S:14175-14203   Protected from discovery by opinion work product
                    privilege.

    S:14204-14205   Protected from discovery by opinion work product
                    privilege.

    S:14206-14216   Partially protected from discovery by opinion work   The portions of the email chain
                    product privilege.                                   from Epstein’s counsel are not
                                                                         privileged. The Government
                                                                         must certify that this outside
                                                                         correspondence has been
                                                                         produced.

    S:14217-14238   Partially protected from discovery by opinion work   The portions of the email chain
                    product privilege.                                   from Epstein’s counsel are not
                                                                         privileged. The Government
                                                                         must certify that this outside
                                                                         correspondence has been
                                                                         produced.

    S:14239-14242   Protected from discovery by opinion work product
                    privilege.

    S:14243-14251   Protected from discovery by opinion work product
                    privilege.


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    S:14252-14275   Partially protected from discovery by opinion work   The portions of the email chain
                    product privilege.                                   from Epstein’s counsel are not
                                                                         privileged. The Government
                                                                         must certify that this outside
                                                                         correspondence has been
                                                                         produced.

    S:14276         Protected from discovery by opinion work product
                    privilege.

    S:14277-14282   Protected from discovery by opinion work product
                    privilege.

    S:14283-14284   Protected from discovery by opinion work product
                    privilege.

    S:14285-14298   Protected from discovery by opinion work product
                    privilege.

    S:14299-14307   Protected from discovery by opinion work product
                    privilege.

    S:14308-14310   Protected from discovery by opinion work product
                    privilege.

    S:14311-14329   Partially protected from discovery by opinion work   The Government must certify
                    product privilege; outside correspondence and P-     that the outside correspondence
                    014315-014316 must be produced.                      has been produced. The
                                                                         correspondence at P-014315-
                                                                         014316 must be produced; this
                                                                         fact-based material is not
                                                                         opinion work product as it does
                                                                         not reveal the mental
                                                                         impressions of counsel, and the
                                                                         court finds that Petitioners have
                                                                         a compelling need for the
                                                                         information contained therein.
                                                                         This need also outweighs any
                                                                         deliberative-process privilege
                                                                         that may apply. It not
                                                                         protected by the attorney-client
                                                                         privilege, as the Government
                                                                         has not demonstrated that FBI
                                                                         agent Kuyrkendall provided
                                                                         this information in an attempt
                                                                         to secure legal advice or a legal
                                                                         opinion from the United States
                                                                         Attorney’s Office. The
                                                                         correspondence must be
                                                                         produced pursuant to an
                                                                         appropriate protective order.




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    S:14330-14337   Partially protected from discovery by opinion work   The portions of the email chain
                    product privilege.                                   from Epstein’s counsel are not
                                                                         privileged. The Government
                                                                         must certify that this outside
                                                                         correspondence has been
                                                                         produced.

    S:14338-14354   Protected from discovery by opinion work product
                    privilege.

    S:14355-14361   Protected from discovery by opinion work product
                    privilege.

    S:14362-14402   Protected from discovery by opinion work product
                    privilege.

    S:14403-14414   Protected from discovery by opinion work product
                    privilege.

    S:14415-14420   Protected from discovery by opinion work product
                    privilege.

    S:14421-14428   Protected from discovery by opinion work product
                    privilege.

    S:14429-14439   Protected from discovery by opinion work product
                    privilege.

    S:14440         Protected from discovery by opinion work product
                    privilege.

    S:14441         Protected from discovery by opinion work product
                    privilege.

    S:14442         Protected from discovery by opinion work product
                    privilege.

    S:14443         Protected from discovery by opinion work product
                    privilege.

    S:14444         Protected from discovery by opinion work product
                    privilege.

    S:14445-14447   Protected from discovery by opinion work product
                    privilege.

    S:14448-14454   Protected from discovery by opinion work product
                    privilege.

    S:14455-14456   Protected from discovery by opinion work product
                    privilege.

    S:14457-14464   Protected from discovery by opinion work product
                    privilege.




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    S:14486         Protected from discovery by opinion work product
                    privilege.

    S:14487         Protected from discovery by opinion work product
                    privilege.

    S:14488-14499   Protected from discovery by opinion work product
                    privilege.

    S:14500         Protected from discovery by opinion work product
                    privilege.

    S:14501-14506   Protected from discovery by opinion work product
                    privilege.

    S:14507-14508   Protected from discovery by opinion work product
                    privilege.

    S:14509-14519   Protected from discovery by opinion work product
                    privilege.

    S:14520         Produce.                                           The Government has not
                                                                       supported its assertion of
                                                                       attorney-client privilege: the
                                                                       email does not, in and of itself,
                                                                       demonstrate that it was a
                                                                       communication between an
                                                                       attorney and clients regarding
                                                                       the provision of legal services
                                                                       or legal advice. Petitioners’
                                                                       need for this material
                                                                       outweighs any deliberative
                                                                       process or investigative
                                                                       privilege that may apply.

    S:14521-14522   Protected from discovery by opinion work product
                    privilege.

    S:14523         Protected from discovery by opinion work product
                    privilege.

    S:14524-14550   Protected from discovery by opinion work product
                    privilege.




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    S:14551         Produce.                                                     The Government has not
                                                                                 supported its assertion of
                                                                                 attorney-client privilege: the
                                                                                 email, authored by an FBI
                                                                                 agent, does not indicate that it
                                                                                 is a client communication
                                                                                 seeking legal services or advice
                                                                                 from an attorney, the United
                                                                                 States Attorney’s Office.
                                                                                 Petitioners’ need for this
                                                                                 material outweighs any
                                                                                 investigative privilege that may
                                                                                 apply. This must be produced
                                                                                 pursuant to an appropriate
                                                                                 protective order.

    S:14552         Protected from discovery by opinion work product
                    privilege.

    S:14553-14556   Protected from discovery by opinion work product
                    privilege.

    S:14557         Production not necessary as not relevant or likely to lead
                    to material relevant to this CVRA litigation.

    S:14558         Protected from discovery by opinion work product
                    privilege.

    S:14559-14562   Protected from discovery by opinion work product
                    privilege.

    S:14563-14565   Protected from discovery by opinion work product
                    privilege.

    S:14566-14568   Protected from discovery by opinion work product
                    privilege.

    S:14569-14573   Protected from discovery by opinion work product
                    privilege.

    S:14574-14583   Protected from discovery by opinion work product
                    privilege.

    S:14584-14622   Protected from discovery by opinion work product
                    privilege.

    S:14623-14627   Protected from discovery by opinion work product
                    privilege.

    S:14628         Protected from discovery by opinion work product
                    privilege.

    S:14629         Protected from discovery by opinion work product
                    privilege.



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    S:14630-14631   Protected from discovery by opinion work product
                    privilege.

    S:14632-14646   Protected from discovery by opinion work product
                    privilege.

    S:14647-14649   Protected from discovery by opinion work product
                    privilege.

    S:14650-14653   Protected from discovery by opinion work product
                    privilege.

    S:14654-14655   Protected from discovery by opinion work product
                    privilege.

    S:14656-14665   Protected from discovery by opinion work product
                    privilege.

    S:14666-14693   Protected from discovery by opinion work product
                    privilege.

    S:14694-14706   Protected from discovery by opinion work product
                    privilege.

    S:14707-14711   Protected from discovery by opinion work product
                    privilege.

    S:14712-14716   Protected from discovery by opinion work product
                    privilege.

    S:14717-14721   Protected from discovery by opinion work product
                    privilege.

    S:14722-14727   Protected from discovery by opinion work product
                    privilege.

    S:14728-14742   Protected from discovery by opinion work product
                    privilege.

    S:14743-14780   Protected from discovery by opinion work product
                    privilege.

    S:14781-14800   Protected from discovery by opinion work product
                    privilege.

    S:14801-14810   Protected from discovery by opinion work product
                    privilege.

    S:14811-14829   Protected from discovery by opinion work product
                    privilege.

    S:14830-14837   Protected from discovery by opinion work product
                    privilege.

    S:14838-14843   Protected from discovery by opinion work product
                    privilege.


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    S:14844-14851   Protected from discovery by opinion work product
                    privilege.

    S:14852-14864   Protected from discovery by opinion work product             Involves self-reporting to OPR
                    privilege; also not relevant or likely to lead to material   regarding Epstein’s allegation
                    relevant to this CVRA litigation.                            that certain prosecutors had
                                                                                 conflicts of interest. Not
                                                                                 relevant to victims’ CVRA
                                                                                 rights.

    S:14865         Protected from discovery by opinion work product
                    privilege.

    S:14866-14883   Protected from discovery by opinion work product
                    privilege.

    S:14884-14886   Protected from discovery by opinion work product
                    privilege.

    S:14887-14894   Protected from discovery by opinion work product
                    privilege.

    S:14895-14900   Protected from discovery by opinion work product
                    privilege.

    S:14901-14906   Protected from discovery by opinion work product
                    privilege.

    S:14907-14911   Protected from discovery by opinion work product
                    privilege.

    S:14912-14919   Protected from discovery by opinion work product
                    privilege.

    S:14920-14923   Protected from discovery by opinion work product             The Government notes that a
                    privilege.                                                   redacted version has been
                                                                                 produced to Petitioners. (DE
                                                                                 329-1 at 18). Only the
                                                                                 unredacted version is
                                                                                 privileged.




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